                                        Case 2:17-cv-04233-JP Document 1 Filed 09/21/17 Page 1 of 13



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        (b} County of Residence of first Listed Plaintiff

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                                                                                                                                   THE TRACT OF LAND INVOLVED.



  S
      JvA         Attorneys (Firm Name, Address, and Te!Ahane Number)
       RTZ CULLETON - BRANDON                                    . SWARTS - 215-550-6553
                                                                                                                        Attorneys (I/Known)

  547 E. WASHINGTON AVENUE
  NEWTOWN, PA 18940
 II. BASIS OF JURISDICTION (Placoan "X'inOneBw:Only)                                                   Ill. CITIZENSHIP OF PRINCIPAL p ARTIES (Place all -·x" mOn• Bro /{Jr ?/aim •ff
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\'I. CAUSE OF A CTION Briefdescriptionofcause:
                                                 MOTOR VEHICLE ACCIDENT
VII. REQUESTED IN      CJ CHECK IF THIS !S A CLASS ACTION                                                                                                            CHECK YES only if,             emande"¥ m complaint
      COMPLAINT:           UNDER RULE 23. F.R.Cv.P                                                                                                                   JURY OEl\-IANO:                    )8:   Yis        ONo

\'III. RELATED CASE(S)
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DATE                                                                                SIGNAfURE OF       ORNEJ' OF RECORD
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FOR OFFICE USE ONLY

     RECEIPT#                           A/\-IOUNT                                        APF~IFP                                      JUDGE                                        MAG. JUDGE
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                                     Case 2:17-cv-04233-JP Document 1 Filed 09/21/17 Page 2 of 13
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    FOR THE
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                    EA~'i'li:[DISTRICT
                                       JD
                                     OF P
                                                                     UNITED STATES DISTRICT COURT
                                                          ;;['ANIA- DESIGNATION FORM to be used by counsel to indkate the category of the case for the purpose of
    assignment to appropriate calendar,

    Address ofP!ainiiff:72 TEMPERED OAK LANE, LEVITTOWN, PA 19054
                                                                                                                                                     ·4 ;.(/
                                                                                                                                                     ,,                 4233
    Address of Defendant: 148 FREEMAN STREET, APT. 3l, BROOKLYN, NY 11222

    Place of Accident, Incident or Transaction• ,FcA_;L;L0S'-'T000W;.::N
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    Does this civil aciion rnvo!ve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning lrfo or molK: of1ts stock?
      (Anach two copies of the        Di:;clo~ure Statement Form in accordance with Fed.R.Civ.P. 7. l(a))                                  Ye:;O       r/oml


    Does this case involve multidistrict litigation possibilities?                                                                         v~Ll
    RELATED CASE, IF ANY:
    Case Number:                                           Judge                                                Date Terminated:-----~\,,,,.-----------

    Civil cases are deemeJ related when yes is answered to any of the following questions;

    ]_ l> this case related to property included in an earlier numbered suit pending or within one year previou:;ly tenninateJ action in 1his court?
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    2. Does this case involve the same issue of fact or grow out of the same 1ransaction as a prior suit pending or within one year previously terminated
       action in 1his coun?

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    3. Does this case involve the validity or infringement of a paten\ already in suit or any earlier numbered case pending or within one year previously
          terminated action in this court?                                                                                                 YesD        NolE!

    4. Is this case a second or successive habeas corpus, social security appeal, or prose civil rights case filed by the same individual?
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    C!VIL: (Place V' in Ol\'E CATEGORY ONLY)
    A. Federal Questwn Cases:                                                                                      B. Diversity Jurisdicuon Cases:
     l.       D Indemnity Contract, Marine Contract, and All Other Contracts                                       1. [J Insurance Contract and Other Contracts
     2. [lfELA                                                                                                     2.    CJ Airplane Personal Injury
     3. [J Jones Act-Personal lnjury                                                                                        Assault, Defamation
    4. CJAntitrust                                                                                                          Marine Personal Injury
     5. [J Patent                                                                                                           Motor Vehicle Personal Injury
    6.     D Labor-Management Relations                                                                                                  6, D Other Personal Injury (Please
                                                                                                                                         specify)
    7. CJ Civil Rights                                                                                             7. D Products Liability
     8.   D Habeas Corpus                                                                                          8. 0 Products Liability-Asbestos
    9. CJ Securities Act(s) Cases                                                                                  9. D All other Diversity Cases
    10.D Social Security Review Cases                                                                                                               (Please specify)

    J J.0 All other Federal Question Cases
                   lea:;e specify)
                                                                          ARBITRATION CERTIFICATION
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    1BRAN ON A. SWARTZ                                                ,counselofrecorddoherebycertify:
               Pur ant to Local Civil Rule 53.2. Section 3(~at to the best of my knowledge and belief, the damages recoverable in this civil action case exceeJ the sum of
    $ l 50,00 00 exclusive of interest and cos!>;
          o    R ,lief other than monetary damages   i~{gh
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               : 10/19/2015                                                                                                              78344
                                                                   Auom~                                                                       Anomey l.D.#
                                               NOTE: A trial de novo will be a trial by jury only if there has been comphance with F.R.C.P. 38.
    BRANDON A. SWARTZ
    I certify that, to my knowledge, the wit                    't T'?ht.ted to   anv case   now~ within           one   year previously terminated action in this court
    e:<cept as noted abo\'e,                                                                                                                                 ,. .      ')   .
    DATE: 10/19/2015                                                                                                                     78344
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                                                                                                                                              Attorney l.D.#
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               Case 2:17-cv-04233-JP Document 1 Filed 09/21/17 Page 3 of 13




ID                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA
~J'                    CASE MANAGEMENT TRACK DESIGNATION FORM
           TIMOTHY LENNON AND
                                                                              CIVIL ACTION
           KATTELIE SYLVESTRIE, H/W
                         v.
           ZBIGNlEW KWIELINSKI
                                                                                    :t 7         t1i~33
           LU TRANSPORT INC                                                   NO.

 In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
 plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
 filing the complaint and serve a copy on all defendants. (See§ 1 :03 of the plan set forth on the reverse
 side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
 designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
 the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
 to which that defendant believes the case should be assigned.

 SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

 (a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                             (D)

 (b) Social Security - Cases requesting review of a decision of the Secretary of Health
     and Human Services denying plaintiff Social Security Benefits.                                  (D)

 (c) Arbitration- Cases required to be designated for arbitration under Local Civil Rule 53.2.       CCII
 (d) Asbestos - Cases involving claims for personal injury or property damage from
     exposure to asbestos.                                                                           CCII
 (e) Special Management - Cases that do not fall into tracks (a) through (d) that are
     commonly referred to as complex and that need special or intense management by
     the court. (See reverse side of this form for a detailed explanation of special
     management cases.)                                                                              ([J)

 ( f) Standard Management - Cases that do not fall into any one of the other tracks.


 9/19/2017

 Date
                                 Brandon A. Swartz

                                     Attorney-at-law
                                                                    Plaintiff, TIMOTHY LENNON AND KAJ

                                                                         Attorney for
                                                                                                     e
 215-550-6553                    215-550-6557                         bswartz@swartzculleton.com


 Telephone                            FAX Number                         E-Mail Address



 (Civ. 66ll) J(}/()2




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                     Case 2:17-cv-04233-JP Document 1 Filed 09/21/17 Page 4 of 13



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         ~P                    IN THE UNITED STATES DISTRICT COURT


         '
    TIMOTHY LENNON AND
                            FOR THE EASTERN DISTRICT OF PENNSYLVANIA



    KA TTEL!E SYLVESTRIE, H/W
                                                                     CIVIL ACTION NO,
                                Plaintiffs,
              V.

   ZBIGNIEW KWIELINSK!
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             and

   LU TRANSPORT INC

                               Defendant.                           JURY TRIAL DEMANDED


                            CIVIL ACTION COMPLAINT AND JURY DEMAND

   I.        PARTIES

            1.          Plaintiffs, Timothy Lennon and Kattelie Sylvestrie, h/w, are adult individuals and

   citizens of the Commonwealth of Pennsylvania, residing therein at 72 Tampered Oak Lane,

   Levittown, PA 19054.

         2.             Defendant, Zbigniew Kwielinski, is an adult individual and citizen of the State of

   New York, residing therein at 148 Freeman Street, Apt. 3L, Brooklyn, NY 11222.

         3.             Defendant, LU Transport Inc., was and is now a business entity, believed to be a

   business corporation, duly organized and existing under the law of the State of Illinois, with a

   principal place of business and corporate headquarters located at 2648 W. 5oth Street, Chicago, IL

   60632.

   II.      JURISDICTION AND VENUE

         4.            Jurisdiction is conferred upon this Court by virtue of the parties' diversity of

   citizenship pursuant to 28 U.S.C. § 1332.
               Case 2:17-cv-04233-JP Document 1 Filed 09/21/17 Page 5 of 13




         5.       The amount in controversy in this action is in excess of seventy-five thousand

($75,000.00) dollars, exclusive of costs and fees.

         6.       Venue is proper in this district pursuant to 28 U.S.C. § 1391 because a substantial

part of the events or omissions giving rise to the within claims occurred within the District.

III.      STATEMENT OF CLAIMS

         7.       At all times material herein, Defendants, Zbigniew Kwielinski and LU Transport

Inc., owned, leased, possessed, maintained, inspected, controlled and/or operated a certain 2015

Volvo Semi-Trailer motor vehicle, Illinois license plate #P848647 and trailer tag #600120ST,

which was involved in the motor vehicle accident hereinafter described.

         8.       On or about December 29, 2016, Plaintiff, Timothy Lennon, was operating a certain

2004 Chevrolet Malibu motor vehicle, Pennsylvania license plate #JXL4955, which was traveling

southbound on US Route 13 near its intersection with US Route 1 in Falls Township, Pennsylvania,

which was involved in the motor vehicle accident hereinafter described.

         9.       On or about December 29, 2016, Plaintiff Timothy Lennon was operating the

aforesaid motor vehicle, which was lawfully traveling southbound on US route 13 near its

intersection with US Route 1 in Falls Township, Pennsylvania, when, suddenly and without

warning, the aforesaid vehicle, owned by Defendant LU Transport Inc. and operated by Defendant

Zbigniew Kwielinski, which was traveling northbound on US Route 1, disregarded a stop sign

~'hile   attempting to enter the southbound travel lane of US Route 13, and struck the Plaintiffs

vehicle with such force so as to cause Plaintiff to sustain severe and permanent injuries as described

more fully hereinafter.

         10.      Upon information and belief, Defendant Zbigniew Kwielinski received a traffic

citation for careless driving as a result of the motor vehicle accident described herein due to his
             Case 2:17-cv-04233-JP Document 1 Filed 09/21/17 Page 6 of 13




violation of the Pennsylvania Vehicle Code.

       11.      The aforementioned motor vehicle accident was caused solely and exclusively by

reason of the negligence, carelessness and recklessness of the Defendants and was due in no

manner to any act or failure to act on the part of the Plaintiff.

                                    COUNT I
                      TIMOTHY LENNON v. ZBIGNIEW KWIELINSKI
                                  NEGLIGENCE

      12.       Plaintiffs hereby incorporate by reference paragraphs one (1) through eleven (11)

of the within Complaint as though the same were fully set forth at length herein.

      13.       The aforesaid motor vehicle accident was caused solely by the carelessness and

negligence of the Defendant, Zbigniew Kwielinski, which consisted of the following:

                (a)    operating the aforesaid motor vehicle at a high and excessive rate of speed
                       lU1der the circlUDstances;

                (b)    failing to have the aforesaid motor vehicle under proper and adequate
                       control at the time of the motor vehicle accident described herein;

                (c)   operating the aforesaid motor vehicle in an lillsafe manner without due
                      regard for the rights and safety of those lawfully upon the highway, one of
                      whom was the Plaintiff, Timothy Lennon, more specifically disregarding a
                      stop sign and striking the Plaintiffs vehicle, driving carelessly and driving
                      too fast for the conditions of the roadway;

               ( d)    failing to give proper and sufficient warning of the approach of the aforesaid
                       motor vehicle;

               (e)     failing to maintain a proper lookout upon the highway;

               (f)    failing to regard the point and position of the Plaintiffs vehicle upon the
                      highway;

               (g)    failing to properly determine the distance between the two vehicles so as to
                      avoid a dangerous collision of the type that seriously injured the Plaintiff;

               (h)    operating a motor vehicle with disregard for the safety of persons upon the
                      highway;
              Case 2:17-cv-04233-JP Document 1 Filed 09/21/17 Page 7 of 13




                  (i)    failing to prevent the aforesaid motor vehicle from striking the Plaintiffs
                         aforesaid vehicle; more specifically, disregarding a stop sign and striking
                         the Plaintiffs vehicle, driving carelessly and driving too fast for the
                         conditions of the roadway;

                 G)      failing to keep the aforesaid vehicle in the proper lane of traffic;


                 (k)     failing to follow the Code of Federal Regulations 49 C.F.R. et seq. with
                         respect to driver hours;

                 (I)     failing to follow the Code of Federal Regulations 49 C.F.R. et seq. with
                         respect to the operation of the aforesaid semi-trailer;

                 (m)    failing to follow the Code of Federal Regulations 49 C.F.R. et seq. with
                        respect to driver qualifications;

                 (n)    failing to follow the Code of Federal Regulations 49 C.F.R. et seq. with
                        respect to the inspection of the aforesaid semi-trailer;

                 (o)    othenvise failing to exercise due and proper care under the circumstances;
                        and

                 (p)    violating various ordinances and statutes pertaining to the operation of
                        motor vehicles, including but not limited to Pennsylvania Vehicle Code
                        section 3714.
        14.      By reason of the aforesaid negligence of the Defendant, Plaintiff, Timothy Lennon,

has suffered severe and permanent injuries, including, but not limited to, lumbar sprain and strain,

lumbar radiculopathy, post-lumbar laminectomy syndrome, disc protrusion at L4-L5, cervical disc

bulges, cervical spondylosis, and cervical facet-mediated pain, as \vell as aches, pains, mental

anxiety and anguish, and a severe shock to his entire nervous system. Plaintiff has in the past and

will in the future undergo severe pain and suffering as a result of which he has in the past and will

in the future be unable to engage in his usual activities, all to his great detriment and loss.

       15.      As a fwther result of the motor vehicle accident described herein, Plaintiff has been

or will be obliged to receive and undergo medical care and attention and to expend various sums
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 of money and to incur various expenses for the injuries which he suffered, and he may be obliged

 to continue to expend such sums or incur such expenditures for an indefinite period of time in the

 future.

            16.     As a further result of the motor vehicle accident described herein, Plaintiff has

 suffered or may suffer a se\1ere loss of his earnings and/or earning power, and he may incur such

 loss for an indefinite period in the future.

            17.     As a direct and reasonable result of the aforementioned motor vehicle accident,

Plaintiff may hereafter incur other financial expenses or losses which do or may exceed the

amounts which he may otherwise be entitled to recover under and pursuant to the Pennsylvania

Motor Vehicle Financial Responsibility Law, 75 Pa. C.S. §1701 et. seq. as amended, for which he

claims damages herein.

           18.      Further, by reason of the aforesaid occurrence, Plaintiff has incurred and/or may

hereinafter incur other financial expenses all in an effort to treat and cure himself of the injuries

sustained in the aforesaid accident

           19.     As a further result of the motor vehicle accident described herein, Plaintiff has or

may have suffered injuries resulting in the permanent loss of a use of a bodily function,

dismemberment, and/or scarring, which may be in full or part cosmetic disfigurements which are

or may be permanent, irreparable and severe.

           20.     As a further result of the motor vehicle accident described herein, Plaintiff has

suffered a loss of the enjoyment of his usual duties, avocations, life's pleasures and activities, and

the shortening of his life expectancy, all to his great detriment and loss.

           21.     As a further result of the aforesaid motor vehicle accident, Plaintiff has suffered

great physical pain, suffering and mental anguish, all of which may continue into the future.
             Case 2:17-cv-04233-JP Document 1 Filed 09/21/17 Page 9 of 13




         22.     Plaintiff in no manner contributed to his injuries, which were the direct and

 proximate result of the Defendant's negligence and carelessness.

         23.     At all times relevant hereto, Plaintiff is and has been entitled to Full-Tort status

under the Pennsylvania Motor Vehicle Code.

        WHEREFORE, Plaintiff, Timothy Lennon, demands judgment against Defendant,

Zbigniew Kwielinski, in an amount in excess of One-Hundred-Fifty Thousand Dollars

($150,000.00), together with any such other relief as the Court deems adequate, just and proper

under the circumstances.

                                     COUNT II
                        TIMOTHY LENNON v. LU TRANSPORT INC
                                   NEGLIGENCE

       24.      Plaintiffs hereby incorporate by reference paragraphs one (1) through twenty-three

(23) of the within Complaint as though the same were fully set forth at length herein.

       25.      The aforesaid motor vehicle accident was caused solely by the carelessness and

negligence of the Defendant, LU Transport Inc., which consisted of the following:

                (a)    operating the aforesaid motor vehicle at a high and excessive rate of speed
                       under the circumstances;

                (b)    failing to have the aforesaid motor vehicle under proper and adequate
                       control at the time of the motor vehicle accident described herein;

                (c)    operating the aforesaid motor vehicle in an unsafe manner without due
                       regard for the rights and safety of those lawfully upon the highway, one of
                       whom was the Plaintiff, Timothy Lennon, more specifically disregarding a
                       stop sign and striking the Plaintiffs vehicle, driving carelessly and driving
                       too fast for the conditions of the roadway;

               (d)     failing to give proper and sufficient warning of the approach of the aforesaid
                       motor vehicle;

               (e)     failing to maintain a proper lookout upon the highway;
Case 2:17-cv-04233-JP Document 1 Filed 09/21/17 Page 10 of 13




     (f)    failing to regard the point and position of the Plaintiffs vehicle upon the
            highway;

    (g)     failing to properly determine the distance between the two vehicles so as to
            avoid a dangerous collision of the type that seriously injured the Plaintiff;

    (h)     operating a motor vehicle with disregard for the safety of persons upon the
            highway;

    (i)    failing to prevent the aforesaid motor vehicle from striking the Plaintiffs
           aforesaid V'ehicle; more specifically, disregarding a stop sign and striking
           the Plaintiffs vehicle, driving carelessly and driving too fast for the
           conditions of the roadway;

    (i)    failing to keep the aforesaid vehicle in the proper lane of traffic;


   (k)     failing to follow the Code of Federal Regulations 49 C.F.R. et seq. with
           respect to driver hours;

   (l)     failing to follow the Code of Federal Regulations 49 C.F.R. et seq. with
           respect to the operation of the aforesaid semi-trailer;

   (m)     failing to follow the Code of Federal Regulations 49 C.F.R. et seq. with
           respect to driver qualifications;

   (n)     failing to follow the Code of Federal Regulations 49 C.F.R. et seq. with
           respect to the inspection of the aforesaid semi-trailer;

   (o)     entrusting its aforesaid tractor-trailer to Defendant Zbigniew Kwielinski;

   (p)     failing to properly recognize prior accidents of its employees, such as
           Defendant Wheeler Brodie;

   (q)     failing to properly hire employees qualified to drive commercial vehicles;

   (r)     failing to properly train, monitor and supervise its employees;

   (s)     failing to train employees on proper driving safety;

   (t)     otherwise failing to exercise due and proper care under the circumstances;
           and

   (u)     violating various ordinances and statutes pertaining to the operation of
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                        motor vehicles, including but not limited to Pennsylvania Vehicle Code
                        section 3714.


          26.    By reason of the aforesaid negligence of the Defendant, Plaintiff Timothy Lennon

has suffered severe and pennanent injuries, including, but not limited to, lumbar sprain and strain,

lumbar radiculopathy, post-lumbar laminectomy syndrome, disc protrusion at L4-L5, cervical disc

bulges, cervical spondylosis, and cervical facet-mediated pain, as well as aches, pains, mental

anxiety and anguish, and a severe shock to his entire nervous system. Plaintiff has in the past and

will in the future undergo severe pain and suffering as a result of which he has in the past and will

in the future be unable to engage in his usual activities, all to his great detriment and loss.


          27.    As a further result of the motor vehicle accident described herein, Plaintiff has been

or will be obliged to receive and undergo medical care and attention and to expend various sums

of money and to incur various expenses for the injuries which he suffered, and he may be obliged

to continue to expend such sums or incur such expenditures for an indefinite period of time in the

future.

          28.    As a further result of the motor vehicle accident described herein, Plaintiff has

suffered or may suffer a severe loss of his earnings and/or earning power, and he may incur such

loss for an indefinite period in the future.

          29.    As a direct and reasonable result of the aforementioned motor vehicle accident,

Plaintiff may hereafter incur other financial expenses or losses which do or may exceed the

amounts which he may otherwise be entitled to recover under and pursuant to the Pennsylvania

Motor Vehicle Financial Responsibility La\v, 75 Pa. C.S. §1701 et. seq. as amended, for which he

claims damages herein.

           30.   Further, by reason of the aforesaid occurrence, Plaintiff has incurred and/or may
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hereinafter incur other financial expenses all in an effort to treat and cure himself of the injuries

sustained in the aforesaid accident.

         31.     As a further result of the motor vehicle accident described herein, Plaintiff has or

may have suffered injuries resulting in the permanent loss of a use of a bodily function,

dismemberment, and/or scarring, which may be in full or part cosmetic disfigurements which are

or may be permanent, irreparable and severe.

         32.     As a further result of the motor vehicle accident described herein, Plaintiff has

suffered a loss of the enjoyment of his usual duties, avocations, life's pleasures and activities, and

the shortening of his life expectancy, all to his great detriment and loss.

        3 3.     As a further result of the aforesaid motor vehicle accident, Plaintiff has suffered

great physical pain, suffering and mental anguish, all of which may continue into the future.

        34.      Plaintiff in no manner contributed to his injuries, \Vhich were the direct and

proximate result of the Defendant's negligence and carelessness.

        35.      At all times relevant hereto, Plaintiff is and has been entitled to Full-Tort status

under the Pennsylvania Motor Vehicle Code.

       WHEREFORE, Plaintiff, Timothy Lennon, demands judgment against Defendant, L U

Transport Inc., in an amount in excess of One-Hundred-Fifty Thousand Dollars ($150,000.00),

together with    all)'   such other relief as the Court deems adequate, just and proper under the

circumstances.

                                       COUNT Ill
                          KATTELIE SYLVESTRIE v. ALL DEFENDANTS
                                  LOSS OF CONSORTIUM

        36.      Plaintiffs hereby incorporate by reference paragraphs one (1) through thirty-five

(35) of the within Complaint as though the same were fully set forth at length herein.
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         37.   As a further result of the incident described herein, Plaintiff, Kattelie Sylvestrie,

has suffered the loss of earnings, society, consortium and services of her husband, Plaintiff

Timothy Lennon, to which she is legally entitled.

        38.    As a further result of the incident described herein, Plaintiff, Kattelie Sylvestrie,

has been or will be obliged to expend various sums of money and to incur various expenses for

the treatment of the injuries which her husband has suffered by reason of the Defendants'

negligence, and she may be obliged to continue to expend such sum or incur such expenditures

for an indefinite period of time.

       WHEREFORE, Plaintiff, Kattelie Sylvestrie, demands judgment against all Defendants

in an amount in excess of One-Hundred-Fifty Thousand Dollars ($150,000.00), together with

any such other relief as the Court deems adequate, just and proper under the circumstances.


                                        JURY DEMAND

       Plaintiffs demand a trial by jury on all claims.


                                                      Respectfully,

                                                      SWARTZ CULLETON PC



                                              By:
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                                                      Kattelie Sylvestrie, h/w
Date: September 19, 2017
